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     Peter A. Miller
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 5   Attorney for Plaintiffs
 6
                                     UNITED STATES DISTRICT COURT
 7                                 NORTHERN DISTRICT OF CALIFORNIA
 8                                          SAN FRANCISCO DIVISION
 9

10   IN RE: ROUNDUP PRODUCTS LIABILITY                           MDL No. 2741
     LITIGATION
11                                                               Case No.

12
            This document relates to:
13

14          GARY GRUNWALD,
                     Plaintiff,
15          v.
16
            MONSANTO COMPANY,
17
                               Defendant.
18

19
                                      SHORT FORM COMPLAINT
20
            Pursuant to Pretrial Order (PTO) No. 149, in which the parties were ordered to sever the
21

22   plaintiffs in the case captioned Lisa Wiley et al. v. Monsanto Company, originally filed in the

23   16th Circuit Court of Jackson County, State of Missouri, into individual short form complaints

24   for pre-trial work up purposes, Plaintiff Gary Grunwald provides the following allegations
25   required by the Court in Pretrial Order No. 155:
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            1.      This case is brought on behalf of Plaintiff Gary Grunwald.
27
            2.      This case is brought against Defendant Monsanto Company (Monsanto).
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                                        SHORT FORM COMPLAINT
     Case 3:16-md-02741-VC Document 5030 Filed 08/16/19 Page 2 of 3

      3. Plaintiff first filed his case against Monsanto in the 16th Circuit Court of Jackson
 1
         County, State of Missouri. Defendants removed the case to the U.S. District Court for
 2

 3       the Western District of Missouri.

 4    4. Plaintiff incorporates by reference, as if fully alleged herein, the allegations contained
 5       in Lisa Wiley, et al. v. Monsanto Company, Case No. 4:18-cv-00801 except those
 6
         pertaining to other named plaintiffs.
 7
      5. Plaintiff resided in Wingate, North Carolina (Union County) at the time of filing the
 8
         original complaint against Monsanto.
 9

10    6. Plaintiff currently resides in Spring Hill, Florida.

11    7. Plaintiff resided in North Carolina at the time of his diagnosis of Non-Hodgkin

12       Lymphoma (NHL).
13
      8. Plaintiff received medical treatment for his NHL in North Carolina.
14
      9. Jurisdiction is proper based on diversity under 28 U.S.C. § 1332 because Plaintiff is a
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         citizen of Florida, a different state than the Defendant’s states of citizenship, and the
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         aggregate amount in controversy exceeds $75,000, exclusive of interest and costs.
17

18    10. Plaintiff alleges injury from his exposure to Defendant’s Roundup® products.

19    11. Plaintiff was exposed to Monsanto’s Roundup® products from in or around 1978 to
20       2016. Mr. Grunwald used Roundup® as needed to kill weeds at his homes and in
21
         gardening, landscaping, and agricultural projects.
22
      12. Plaintiff used Monsanto’s Roundup® products in cities throughout Florida and North
23       Carolina.
24    13. Plaintiff was first diagnosed with Non-Hodgkin’s Lymphoma in 2015.
25

26    14. Plaintiff brings claims against Monsanto under the following theories of liability:

27       Strict Liability (Design Defect); Strict Liability (Failure to Warn); Negligence; Breach

28       of Express Warranty; Breach of Implied Warranties.



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                                SHORT FORM COMPLAINT
          Case 3:16-md-02741-VC Document 5030 Filed 08/16/19 Page 3 of 3


 1
           Dated: August 16th, 2019            MILLER DELLAFERA PLC
 2

 3                                             By: /s/ Peter A. Miller

 4                                             Peter A. Miller
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                                   CERTIFICATE OF SERVICE
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20                  I, Peter Miller, hereby certify that, on August 16th, 2019, I electronically
     filed the foregoing with the Clerk for the United States District Court Northern District
21   of California San Francisco Division using the CM/ECF system, which shall send
22   electronic notification to counsel of record.

23

24                                                                   /s/ Peter A. Miller
25

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                                      SHORT FORM COMPLAINT
